Case 4:20-cv-05719-JST Document 1-2 Filed 08/14/20 Page 1 of 3




              Exhibit B
       Case 4:20-cv-05719-JST Document 1-2 Filed 08/14/20 Page 2 of 3



 1   Squire Patton Boggs (US) LLP
     Troy M. Yoshino (State Bar #197850)
2    troy.yoshino@squirepb.com
     Eric J. Knapp (State Bar #214352)
3    eric.knapp@squirepb.com
     Scott J. Can (State Bar # 245588)
 4   scott.carr@squirepb.com
     Alfredo W. Amoedo (State Bar # 287901)
 5   alfredo.amoedo@squirepb.com
     275 Battery Street, Suite 2600
 6   San Francisco, California 94111
     Telephone:     +1 415 954 0200
 7   Facsimile:     +1 415 393 9887

 8   Attorneys for Defendant
     MERCEDES-BENZ USA, LLC
 9

10                                        UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                           SAN FRANCISCO DIVISION

13

14   YING YING GUAN, individually, on behalf of            Case No.   3:20-cv-05719
     all others similarly situated, and on behalf of
15   the general public,                                   DECLARATION OF THEODORE
                                                           VAUGHAN IN SUPPORT OF NOTICE
16                          Plaintiffs,                    OF REMOVAL OF CIVIL ACTION

17            v.

18   MERCEDES-BENZ USA, LLC; and DOES 1
     through 50, inclusive,
19
                            Defendants.
20

21

22            I, Theodore Vaughan, state and declare as follows:

23            1.       I am employed as a Product Analysis Engineer at Mercedes-Benz USA, LLC

24   ("MBUSA"). I have personal knowledge of the facts set forth in this declaration and, if called to

25   testify as a witness to any of its contents, I could and would do so under oath.

26            2.       I submit this declaration in support of MBUSA's Notice of Removal of Civil

27   Action Under 28 U.S.C. §§ 1332(d), 1441, 1446, 1453 (Class Action Fairness Act) submitted

28   contemporaneously herewith.

                                                                         DECLARATION OF THEODORE
                                                                   VAUGHAN IN SUPPORT OF NOTICE OF
     010-9101-3089/2/AMERICAS
                                                                           REMOVAL OF CIVIL ACTION
                                                                   CASE NO. 3:20-cv-05719
       Case 4:20-cv-05719-JST Document 1-2 Filed 08/14/20 Page 3 of 3



 1            3.       I have reviewed the operative First Amended Complaint in this action titled "Ying

2    Ying Guan, individually, on behalf of all others similarly situated, and on behalf of the general

3    public v. Mercedes-Benz USA, LLC, and Does 1 through 50, inclusive, No. CGC-20-584498"

4    filed in the Superior Court of California for the County of San Francisco ("Class Action

 5   Complaint") and am familiar with its contents.

6             4.       At the time this action was filed and at the time of removal, MBUSA was, and still

 7   is, a Delaware Limited Liability Company that maintained, and still maintains, its home office

 8   and principal place of business in Georgia.

9             5.       MBUSA has only one member, Daimler North America Corporation ("DNAC").

10   DNAC is a Delaware corporation with its principal place of business in Michigan.

11            6.       At the time this action was commenced and at the time of the filing of the Notice

12   of Removal, neither MBUSA nor DNAC were citizens of the State of California.

13            7.       In the Class Action Complaint, Plaintiff defines the putative class to include:

14                  All residents of California, who currently own, or previously
                    owned, a 2012, 2013, or 2014 model year Mercedes-Benz C250,
15                  that was purchased either new or as a Mercedes-Benz Certified Pre-
                    Owned vehicle.
16   See Notice of Removal, Exhibit A ¶ 64.

17            8.       The putative class encompasses several different models from model years 2012

18   through 2014 equipped with camshaft adjusters, however what constitutes "camshaft adjusters" to

19   plaintiff is not clear in the Complaint. Based on Plaintiffs class definitions, MBUSA's best

20   efforts to understand the allegations of her complaint, and the information MBUSA has been able

21   to gather so far in the limited time available, and subject to change when plaintiff provides more

22   information about her claims, there are approximately 59,000 vehicles at issue.

23            I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct.

25            Executed this       - 1 day of August 2020 in    /-•o1vt, r.,,
                                                                               ea      C4
26

27

28
                                                                              DECLARATION OF THEODORE
                                                         2              VAUGHAN IN SUPPORT OF NOTICE OF
     010-9101-3089/2/AMERICAS
                                                                                REMOVAL OF CIVIL ACTION
                                                                         CASE NO. 3:20-cv-05719
